Case 1:23-cv-03721-SCJ Document 1-111 Filed 08/21/23 Page 1 of 2




                 EXHIBIT B-100
        Case 1:23-cv-03721-SCJ Document 1-111 Filed 08/21/23 Page 2 of 2


                                                                           FILED.IN.OFFICE

                  IN THE SUPERIOR COURT OF FULTON COUNTY
                         •   STATEOF GEORGIA                               DEPUTYCLERKSUPERIORCOURT
                                                                               FULTONCOUNTY.GA


IN RE 2 MAY2022 SPECIALPURPOSE
GRANDJURY                                            2022-EX-000024




                              ORDER SEALING ORDER

       The attached Order is being filed under seal. It relates to the operations of the

special purpose grand jury and contains identifying information of one or more grand

jurors. The Court specifically finds that the harm that would result from disclosure of the

attached Order to the privacy of a person in interest clearly outweighs the public interest

in the substance of the attached Order. It is therefore proper for the Order to be sealed

pursuant to Uniform Superior Court Rule 21.2.

       SO ORDERED this 23rd day of September 2022.




                                                 Judge Robert C.I. Mc urney
                                                 Superior Court of Fulton County
                                                 Atlanta Judicial Circuit




                                                                                          1
